      Case 3:19-cv-00494-RV-EMT Document 28 Filed 02/14/20 Page 1 of 11




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

DEWAYNE L. LILES,

      Plaintiff,

v.                                                    Case No. 3:19cv494-RV-EMT

UNITED STATES OF AMERICA,

     Defendant.
_______________________________

             MOTION TO QUASH OR IN THE ALTERNATIVE,
                     FOR PROTECTIVE ORDER

      Pursuant to Federal Rule of Civil Procedure 26(c), Defendant, the United

States of America, by and through the undersigned Assistant United States Attorneys

for the Northern District of Florida, submits this motion to quash or in the alternative,

for protective order regarding Plaintiff’s Rule 30(b)(6) notice to Defendant. In

support, Defendant states as follows:

        PROCEDURAL HISTORY AND FACTUAL BACKGROUND

      1.     Plaintiff filed this civil action for declaratory judgment on March 14,

2019. (Doc. 1). Plaintiff seeks a declaratory judgment that the Federal Bureau of

Prisons (“BOP”) operating the Federal Prison Camp located in Pensacola, Florida

(“FPC Pensacola”), has a “policy” for the use of overtime that violates the Fair Labor
     Case 3:19-cv-00494-RV-EMT Document 28 Filed 02/14/20 Page 2 of 11




Standards Act (“FLSA”), 5 C.F.R. § 551.531.

      2.       On May 22, 2019, Defendant filed a motion to dismiss for failure to

state a claim and for lack of jurisdiction. (Doc. 8). Plaintiff filed a response in

opposition (Doc. 9), and this Court denied the motion on July 15, 2019 (Doc. 10).

      3.       Thereafter the parties engaged in discovery. The current discovery

deadline is March 1, 2020. (Doc. 12).

      4.       Plaintiff was deposed on December 9, 2019.

      5.       Defendant served objections and responses to Plaintiff’s written

discovery requests on December 13, 2019. The parties conferred about Defendant’s

objections via multiple e-mails and over the phone on February 5, 2020.

      6.       On February 12, 2020, Defendant served supplemental responses and

objections to Plaintiff’s discovery requests. (See Ex. A). In its supplemental

responses, Defendant proposed several compromises to more narrowly tailor the

requests to the relevant issues proportionate to the needs of this case. (See id.).

Plaintiff never responded to Defendant’s proposed compromises.

      7.       Plaintiff noticed the Rule 30(b)(6) deposition of Defendant for

February 27, 2020 and February 28, 2020. The notices seek many of the same

documents to which Defendant previously objected and proposed compromises.

(See Ex. B).

      8.       On February 13, 2020, Defendant served objections and responses to


                                         2
      Case 3:19-cv-00494-RV-EMT Document 28 Filed 02/14/20 Page 3 of 11




Plaintiff’s Rule 30(b)(6) notice. (See Ex. C). Defendant’s objections were limited

to the requests for production included in the notice; Defendant did not object to the

topics for deposition. (See Ex. D). Counsel for Defendant suggested that the parties

confer on February 14, 2020. (See Ex. C).

      9.     Counsel for Plaintiff did not respond to the suggested conferral or

Defendant’s proposed compromises. Instead, on February 14, 2020, Plaintiff filed

a motion to compel discovery. (Doc. 26).

      10.    Also on February 14, 2020, Defendant filed a motion for summary

judgment because there is no genuine issue of material fact that Plaintiff fails to meet

the requirements of the Declaratory Judgment Act and there is no “policy” on

overtime at FPC Pensacola that violates the FLSA. (See Doc. 27).

                                    ARGUMENT

      The Court should quash and limit the requests for production in Plaintiff’s

Rule 30(b)(6) notice and/or enter a protective order protecting Defendant from

producing additional documents. Defendant does not object to giving testimony on

the topics proposed in Plaintiff’s Rule 30(b)(6) notice; Defendant’s objections apply

solely to the Rule 30(b)(6) document requests and corresponding requests for

production, as set forth below.




                                           3
        Case 3:19-cv-00494-RV-EMT Document 28 Filed 02/14/20 Page 4 of 11




I.      Case overview.

        This case hinges on Plaintiff’s unfounded assertion that FPC Pensacola has a

“policy” on overtime that violates the FLSA because such “policy” “forc[es]

[Plaintiff] to accept comp time as part of any overtime offerings . . . .” (Doc. 1 ¶ 1).

But as Defendant’s motion for summary judgment makes clear and the undisputed

evidence now shows (see Doc. 27), Plaintiff cannot prevail on his declaratory

judgment claim. Simply put, there is no policy on overtime in Plaintiff’s department

and Plaintiff admitted during his deposition that he (1) has never been required to

work overtime, (2) has never been pressured to accept compensatory time in lieu of

paid overtime, and (3) is not aware of anyone in his department who has ever been

forced to work overtime and accept compensatory time in lieu of paid overtime. (See

id.).

        Moreover, overtime is not offered in Plaintiff’s department on a regular or

consistent basis. Rather, the only circumstances in which compensatory time has

been offered is for the limited purpose of helping employees “catch up” on case file

reviews that should otherwise be completed during normal business hours. (Doc. 26

at 12-13). In those limited situations where employees have volunteered to work

hours outside of their normal work week in preparation for file reviews, those

employees also volunteered to accept compensatory time for the work. (Id. at 5, 9-

10, 13). This process does not violate the FLSA.


                                           4
      Case 3:19-cv-00494-RV-EMT Document 28 Filed 02/14/20 Page 5 of 11




II.   The document requests at issue.

      Plaintiff’s Rule 30(b)(6) notice to Defendant includes the following document

requests, which are duplicative of Plaintiff’s Requests for Production Nos. 1-5:

      A.     Any and all emails, communications, and correspondence
             relating to the Pensacola facility subject to this action which
             address staffing shortfalls, staff shortages, understaffing, or lack
             of available employees to carry out necessary duties, in the (4)
             years preceding the filing of this action.

      B.     All manuals, policies, procedures, and handbooks relating to the
             payment of overtime and/or comp time which applied to the
             Pensacola facility where Plaintiff worked for the (4) years prior
             to the filing of this action.

      C.     For the (4) years prior to the filing of this action, please provide
             all emails, correspondence, announcements, memos, and other
             documents pertaining to the formulation and implementation of
             the overtime/comp time policy in place in the BOP’s Pensacola
             facilities.

      D.     Copies of any and all emails, correspondence, announcements,
             memos, and other documents pertaining to any request by the
             Plaintiff for overtime at the BOP’s Pensacola facilities.

      E.     Any and all written complaints, grievances, or other written
             documentation relating to understaffing at the Pensacola facility
             subject to this action in the (4) years preceding the filing of this
             action.

(See Ex. B at 5, 10; see also Ex. A at 14-21). Defendant responded to Request A

with objections and stated it would not produce documents.            (Ex. D at 3-4).

Defendant responded to Request D and explained that no additional non-privileged

documents exist. (Ex. D at 6-7). Defendant proposed compromises to Requests B,


                                          5
      Case 3:19-cv-00494-RV-EMT Document 28 Filed 02/14/20 Page 6 of 11




C, and E to limit the requests to Plaintiff’s unit. (Ex. D at 4-8). Plaintiff did not

respond to Defendant’s offer to compromise and instead filed a motion to compel.

(See Doc. 26).

      Requests A, B, C, and E are well beyond the scope of permitted discovery in

this civil action. These requests broadly seek production of all documents and

information related to staffing levels and overtime policies for all departments at

FPC Pensacola for the four (4) years prior to this action. That information is simply

irrelevant to the claims and defenses in this civil action. Plaintiff seeks an injunction

requiring Defendant to restructure its overtime policy prospectively; he does not

seek damages for past allegations of unpaid overtime and admits that he has never

worked or been required to work overtime. Defendant’s future budget and/or

staffing needs are entirely independent of its past needs and are entirely contingent

on Congressional funding; hence, nothing about the administration of FPC

Pensacola’s overtime policy in the future is relevant to its staffing levels in the past.

In addition, Plaintiff works in the correctional programs department at FPC

Pensacola, which does not have an overtime policy and does not regularly approve

any overtime, compensatory or paid. The policies and procedures for units outside

of Plaintiff’s unit have no bearing on the claims and/or defenses in this case.

      Moreover, requiring Defendant to produce all of this information is a very

burdensome, expensive, and labor intensive task that substantially outweighs any


                                           6
     Case 3:19-cv-00494-RV-EMT Document 28 Filed 02/14/20 Page 7 of 11




likely benefit because it would require Defendant to search for, obtain, and review

all documents (including emails, correspondence, announcements, memos, policies,

procedures, handbooks, complaints, grievances, and other written documentation)

related to staffing and overtime for all job positions across all departments at FPC

Pensacola for a period of four (4) years prior to this action. For these reasons, the

requests are also not proportional as required by Federal Rule of Civil Procedure

26(b)(1).

      The requests seeking information on staffing (including staffing shortfalls,

shortages, understaffing, or lack of available employees to carry out necessary

duties) (Requests A and E) are also separately improper because production of this

information would compromise the security of Defendant’s prison operations and

the safety of Defendant’s employees, the inmates, and the general public. The

requests related to staffing also potentially seek privileged documents, which cannot

be produced.      This information is not relevant as discussed supra, nor is it

proportional to the needs of the case as required by Federal Rule of Civil Procedure

26(b)(1).

   III.     Defendant’s proposal to limit and quash the Rule 30(b)(6) requests.

      Requests B, C, and E should be limited to Plaintiff’s unit for the reasons stated

herein, as well as the reasons stated in Defendant’s supplemental responses to

Plaintiff’s discovery requests (see Ex. A), and Defendant’s objections and responses


                                          7
      Case 3:19-cv-00494-RV-EMT Document 28 Filed 02/14/20 Page 8 of 11




to Plaintiff’s Rule 30(b)(6) notice (see Ex. D). Defendant proposes that the Court

enter an order quashing and limiting Requests B, C, and E to Plaintiff’s unit.

      Request A cannot reasonably be limited to Plaintiff’s unit because of the

severe security risk of disclosing any of the requested information related to staffing,

staffing shortfalls, shortages, understaffing, or lack of available employees to carry

out necessary duties at FPC Pensacola. Defendant proposes that the Court enter an

order quashing Request A in its entirety.

                                   CONCLUSION

      For these reasons, the Court should quash Plaintiff’s Rule 30(b)(6) document

requests and/or enter a protective order protecting Defendant from producing

additional documents.




                                            8
Case 3:19-cv-00494-RV-EMT Document 28 Filed 02/14/20 Page 9 of 11




                             Respectfully submitted,

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                               9
     Case 3:19-cv-00494-RV-EMT Document 28 Filed 02/14/20 Page 10 of 11




                          Local Rule 7.1(b) Certification

      Counsel for Defendant has attempted to confer with counsel for Plaintiff but

did not receive a response to the request to confer.



                          Local Rule 7.1(F) Certification

      I HEREBY CERTIFY that the foregoing motion, excluding the case caption

and certifications, contains 1582 words based upon Microsoft Word’s word count,

in compliance with Local Rule 7.1(F).




                                         10
     Case 3:19-cv-00494-RV-EMT Document 28 Filed 02/14/20 Page 11 of 11




                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on February 14, 2020, the foregoing was filed

electronically with the Clerk of the Court using the CM/ECF filing system and

served on all counsel of record.



                                   /s/ Mary Ann Couch
                                   MARY ANN COUCH
                                   Assistant United States Attorney




                                     11
